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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          Civil Matter No.: 20 Civ. 4905 (PAE)
 CURTIS SUMMIT,

                       Plaintiff,

      -against-

 EQUINOX HOLDINGS, INC.,

                       Defendant.

  REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF MOTION FOR
SUMMARY JUDGMENT ON BEHALF OF DEFENDANT EQUINOX HOLDINGS, INC.


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                               PRELIMINARY STATEMENT

               Plaintiff’s bare bones opposition highlights the scarce evidence Plaintiff has

adduced to support his claims beyond his own self -serving conjecture. Based on Plaintiff’s

opposition papers, Plaintiff has abandoned any argument that he was subjected to any pre-

termination discriminatory conduct. Plaintiff’s opposition also fails to set forth admissible

evidence which could establish an inference of discrimination that his termination was related to

his age.

               Even if Plaintiff could establish a prima facie case of discrimination, he cannot

rebut EHI’s legitimate, non-discriminatory reason for his termination. Specifically, Plaintiff’s

termination was solely based on his violation of EHI’s workplace violence policy. Plaintiff has

not – and cannot – show that his termination was a pretext for age discrimination. Significantly,

Plaintiff admits that the individual who recommended his termination did not even know his age.

Plaintiff’s reliance on his own speculation as to the alleged motives of the decision makers is

insufficient evidence from which a reasonable juror could find pretext. Accordingly, Plaintiff’s

claims should be dismissed with prejudice.

                                         ARGUMENT

                                             POINT I

DEFENDANT IS ENTITLED TO SUMMARY JUDGMENT DISMISSING PLAINTIFF’S
                   AGE DISCRIMINATION CLAIMS

       A.      Plaintiff Cannot Establish an Inference of Discrimination Required to State a
               Prima Facie Case.

               1.     Plaintiff Abandoned Any Argument that the Pre-Termination
                      Allegations Independently State a Prime Facie Claim of Age
                      Discrimination under the ADEA or NYSHRL.

               As explained in EHI’s initial motion papers, to state a prima facie case of age

discrimination pursuant to the ADEA and NYSHRL, Plaintiff must establish that he sustained a


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“‘materially adverse change’ in the terms and conditions of employment.” Galabya v. N.Y.C. Bd.

of Educ., 202 F.3d 636, 640 (2d Cir. 2000) (internal citations and quotation marks omitted); see

also Golston-Green v. City of N.Y., 123 N.Y.S. 3d 656, 666 (2d Dept. 2020) (applying the identical

standard to claims brought under the NYSHRL). In the Complaint and throughout this litigation,

Plaintiff alleged that he was discriminated against by EHI on the basis of his age prior to his

termination because he was asked to “clean” the boxing studio following his classes, required to

monitor classroom attendance and tardiness and deprived of similar training opportunities as

younger Group Fitness Instructors (“GFIs”). See DSOF at ¶ 35. In Plaintiff’s opposition to EHI’s

motion for summary judgment, Plaintiff asserts that the only adverse action he suffered is his

termination. See Dkt. No. 40 at p. 14 (“Here, the disputed issue is whether Plaintiff’s termination

occurred under circumstances giving rise to an inference of age discrimination.”). As Plaintiff has

abandoned his argument that the pre-termination conduct can independently state a prima facie

case of age discrimination, the Court should dismiss Plaintiff’s allegations of age discrimination

pursuant to the ADEA and NYSHRL which Plaintiff previously asserted could be independently

established based on the pre-termination claims.

                  2.       The Admissible Evidence Does Not Support an Inference of
                           Discrimination.

                  Considering the admissible evidence in this matter, Plaintiff has not adduced

sufficient evidence to show an inference of discrimination can be drawn between his termination

and his age. 1 The Joint Statement of Undisputed Facts and Plaintiff’s admissions in the 56.1


1
 Several cases cited by Plaintiff in support of his argument that an inference of discrimination can be established are
either inapposite or cite the incorrect causation standard. Indeed, since the Supreme Court’s opinion in Gross v.
FBL Fin. Servs., 557 U.S. 167 (2009), claims of age discrimination under the ADEA and NYSHRL have required
Plaintiff to establish “but-for” causation. See, e.g., Downey v. Adloox, Inc., 789 F. App’x 903, 905 (2d Cir. 2019)
(holding ADEA and NYSHRL claims of age discrimination require “but-for” causation standard). Several of the
cases quoted or cited by Plaintiff are either not age discrimination claims or cite to a causation standard other tha n
“but-for” causation. By way of example only, the quoted language Plaintiff’s cites from Raspardo v. Carlone, 770
F.3d 97 (2d Cir. 2014), see Dkt. No. 40 at p. 14, is not in the opinion at all, see Raspardo, 770 F.3d at 126, and


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Statement belie any claim by Plaintiff that an inference of age discrimination can be drawn from

his termination. Significantly, the following facts are undisputed:

             •    EHI has a workplace violence policy prohibiting actual or threatened
                  violence in the workplace and violations of this policy can lead to discipline,
                  up to and including termination of employment; (see JSUF at ¶¶ 17-18)

             •    Ryan Echevarria, Front Desk Manager on Duty at the Flatiron Club,
                  reported to EHI that Plaintiff “made threats to hit someone (looking at
                  maintenance [staff members]) if he found out who [was responsible for
                  removing his personal belongings from his lockers]”; (see JSUF at ¶ 43)

             •    At the time Tracey Grossman, Regional Director Group Fitness, received
                  the email concerning the Flatiron Club locker room incident, she did not
                  consider terminating Plaintiff; (see JSUF at ¶ 48)

             •    Stephanie Herrmann, Regional Director, People Services, did not know
                  Plaintiff’s age on December 20, 2019 when she emailed Matthew Herbert,
                  Vice President, Global People Services, and David Ard, Chief People
                  Officer, concerning the expected termination of Plaintiff or when she
                  recommended Plaintiff be terminated based on the information gathered
                  from the interview conducted by Grossman and Gerard Calvo, Director
                  Regional Group Fitness, with Plaintiff; (see JSUF at ¶¶ 50-52, 63; DSOF at
                  ¶ 27; Exhibit M)

             •    Defendant did not hire anyone to replace Plaintiff, and the nine instructors
                  in New York City who were qualified to teach Plaintiff’s former classes
                  were all over the age of forty, including three over the age of fifty; (see
                  JSUF at ¶¶ 67-68; DSOF at ¶ 31)

             •    In 2019, EHI discharged four other employees for making threatening
                  comments and/or engaging in physical violence in the workplace. Each of
                  these other employees was younger than Plaintiff and two of these
                  employees were in their twenties. (see DSOF at ¶¶ 33-34).

                  Plaintiff has failed to adduce admissible evidence that could establish an inference

that Plaintiff’s age played a part in the decision to discharge him from employ ment or that similarly

situated younger employees were treated differently than he was treated . Accordingly, the Court




Raspardo is a sex discrimination case – not age discrimination. Id. at 125 (considering sex discrimination liability
under Section 1983 claim).


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should find that Plaintiff has failed to establish a prima facie case of discrimination and dismiss

the claims with prejudice.

       B.      Plaintiff Cannot Rebut EHI’s Legitimate, Non-Discriminatory Reason for His
               Discharge.

               Even if Plaintiff could state a prima facie case of age discrimination – which he

cannot – EHI has set forth a legitimate, non-discriminatory reason for his discharge. Plaintiff was

terminated because he violated EHI’s workplace violence policy. Plaintiff argued in opposition

that there is a dispute of fact as to whether Plaintiff’s conduct constituted a violation of the

workplace violence policy and whether this was the true reason for his termination. Plaintiff’s

support for this position is belied by the undisputed factual record and is insufficient to meet his

burden at the pretext stage. Plaintiff cannot show that a reasonable juror could find that “but-for”

his age, Plaintiff would not have been discharged as required to move forward with the ADEA and

NYSHRL claims. Nor can Plaintiff show that a reasonable juror could find that age played any

role in the decision to discharge him as required to avoid dismissal of his NYCHRL claim.

Accordingly, the Court should grant EHI’s motion for summary judgment and dismiss Plaintiff’s

claims with prejudice.

               1.        Plaintiff’s Threats of Violence – Even if Not Directed at Any Particular
                         Individual – Constitute a Violation of EHI’s Workplace Violence
                         Policy.

               Plaintiff asserts that he can establish pretext, in part, because his conduct at the

Flatiron Club on December 19, 2019 did not constitute a violation of the workplace violence policy

since he did not threaten a specific employee. See Dkt No. 40 at p. 18. Significantly, Plaintiff

repeatedly testified that he was so upset about the removal of his personal belongings that he did

not remember what he said during the December 19, 2019 incident in the Flatiron Club locker

room. See DSOF at ¶¶ 23, 26. In fact, Plaintiff testified a number of times that it was possible



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that he threatened to hit whomever touched his belongings, an admission which is supported by

contemporaneous documentation. See DSOF at ¶¶ 23, 26; JSUF at ¶¶ 42-43. Plaintiff’s distinction

that he did not threaten anyone specifically has absolutely no import. It is absurd to suggest that a

general threat of violence, not directed to any specific employee is permissible and does not violate

EHI’s workplace violence policy.2 Accordingly, Plaintiff’s argument that his conduct did not

violate the workplace violence policy is without merit.

                  2.       Plaintiff Has Not Presented Evidence that a Reasonable Juror Could
                           Find that Plaintiff’s Age Played Any Role in His Termination.

                  Plaintiff asserts that a reasonable juror could find Defendant’s explanation for

terminating Plaintiff’s employment was pretextual based on:

             •    Comments regarding Plaintiff’s age and their temporal proximity to his
                  termination;

             •    The “questionable” investigation which failed to account for witness
                  statements;

             •    The recommendation to terminate Plaintiff before interviewing him about
                  the incident; and

             •    Plaintiff’s replacement by younger employees.

As described in detail below, each of these alleged bases, together or alone, fails to establish that

a reasonable juror could find Defendant’s decision to terminate Plaintiff for a violation of the

workplace violence policy to be pretext for age discrimination. See Yagudaev v. Credit Agricole

Am. Servs., 2020 U.S. Dist. LEXIS 20328, at *26 (S.D.N.Y. Feb. 6, 2020) (Engelmayer, J.)

(holding plaintiff must meet the “but-for” causation standard for ADEA and NYSHRL claim);

Dietrich v. City of N.Y., 2020 U.S. Dist. LEXIS 130538, at *18-*19 (S.D.N.Y. July 23, 2020)


2
  EHI’s workplace violence policy prohibits employees and others from “behaving in a violent or threatening
manner[,]” including “[t]threatening . . . behavior such as intimidation of or attempts to instill fear in another
individual” and “behaviors that suggest propensity towards violence including . . . veiled threats of physical harm[.]”
See Affidavit of Diane Windholz in Further Support of Equinox Holdings, Inc.’s Motion for Summary Judgment at
Exhibit L at D000117.


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(plaintiff must show that age must be a motivating factor to survive a motion for summary

judgment on NYCHRL claims).

                      i.       Comments Regarding Plaintiff’s Age Are Insufficient to
                               Establish Pretext.

               The comments Plaintiff identified as evidence of age animus are not sufficient to

establish that Plaintiff’s age played any role in his termination. The relevant decision makers

concerning Plaintiff’s discharge were Herrmann, Grossman and Calvo. See JSUF at ¶¶ 62-64, see

also DSOF at ¶¶ 24-26. It is undisputed that Herrmann was not even aware of Plaintiff’s age when

she recommended Plaintiff be discharged. See DSOF at ¶ 27. While Plaintiff alleges that Calvo

and Grossman were aware of his age, Plaintiff has not presented any evidence which would support

that but for their knowledge of his age, Calvo and Grossman would not have agre ed with

Herrmann’s recommendation to discharge him for his violation of the workplace violence policy.

Indeed, it is the undisputed testimony of Calvo that the reason for Plaintiff’s termination was

Plaintiff’s threat of violence during the December 19, 2019 incident. See Decl. of G. Calvo, Dkt.

No. 35 at ¶¶ 38-39. Plaintiff’s argument is further undercut by his own testimony that, at the time

of the December 19, 2019 incident at the Flatiron Club, Grossman was aware of Plaintiff’s age,

yet when she was informed of the incident she did not consider terminating Plaintiff’s employment.

See JSUF at ¶ 48. Without more, Plaintiff’s argument that age played any role in his discharge is

entirely speculative and insufficient for a reasonable jury to find that Plaintiff can meet the “but

for” causation standard required to avoid dismissal here. See, e.g., Timbie v. Eli Lilly & Co., 429

F. App'x 20, 24 (2d Cir. 2011) (affirming grant of summary judgment for ADEA case where

facially age-based comment, by plaintiff’s supervisor, even “if made in relation to the employment

decision at issue as well as the decision-making process[,] . . . was insufficient to allow [plaintiff]

to carry her burden in showing that age-discrimination was the ‘but—for’” cause of defendant’s



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decisions regarding concerning the alleged adverse action); Kittrell v. City of N.Y., No. 10-CV-

2606 (NGG), 2013 U.S. Dist. LEXIS 77101, at *49-51 (E.D.N.Y. Mar. 14, 2013) (granting

defendant’s motion for summary judgment even if comment made at termination meeting could

be viewed as reflective of discriminatory animus because “no reasonable fact-finder could

conclude, on the basis of the entire record, that defendants’ explanation” was pretext for age

discrimination).

               Plaintiff’s argument is further undercut by EHI’s termination in 2019 of four

younger employees, including two employees in their twenties, for making threatening comments

and/or engaging in physical violence. See DSOF at ¶¶ 33-34.

               Second, Plaintiff’s argument that the temporal proximity of the alleged ageist

comments and his termination are sufficient to establish pretext is misguided. While temporal

proximity may be used to establish a prima facie case, “it is insufficient by itself to overcome a

nondiscriminatory reason by demonstrating pretext.” Flanagan v. N. Shore Long Island Jewish

Health Sys., No. 11-CV-5246 (JFB)(SIL), 2014 U.S. Dist. LEXIS 139015, at *36 (E.D.N.Y. Sep.

30, 2014). Accordingly, Plaintiff’s efforts to assert that temporal proximity is a basis for find ing

Defendant’s legitimate, non-discriminatory reason for his discharge are pretextual should be

rejected.

                     ii.       Plaintiff’s Argument That the Investigation Into The December
                               19, 2019 Flatiron Club Incident was “Questionable” Because It
                               Failed to Account for Witness Statements Is Meritless.

               Plaintiff claims that pretext can be shown based on what he describes as the

“questionable” investigation into the December 19, 2019 Flatiron Club locker room incident based

in part on its failure to account for witness statements. This argument is belied by the record. It

is undisputed that on December 19, 2019, Echevarria emailed a statement about Plaintiff’s conduct

that evening at the Flatiron Club locker room, describing Plaintiff as having “made threats to hit


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someone (looking at maintenance [staff members]) if he found out who [was responsible for

removing his personal belongings from his lockers].” See JSUF at ¶ 43. This email was forward

to Herrmann that evening. Id. at ¶ 47.

               At the investigatory interview with Calvo and Grossman on December 20, 2019,

Plaintiff admitted to raising his voice and making a threat to hit whomever had removed his

belongings from his locker at the Flatiron Club. See DSOF at ¶ 23. EHI’s decision to discharge

Plaintiff based on this information, without waiting for additional witness statements, does not

suggest that Plaintiff’s age played any role in the termination decision. Since Plaintiff admitted to

making the threatening comments previously reported by Echevarria, there was no need to obtain

additional statements confirming what Plaintiff had already admitted directly.

                    iii.       Herrmann Did Not Know Plaintiff’s Age When She
                               Recommend His Termination for Breach of the Workplace
                               Violence Policy.

               Plaintiff asserts that he can establish pretext because there was a recommendation

to terminate his employment prior to him being interviewed. This allegation is factually incorrect

and does not support an argument that Defendant’s conduct was pretext for age discrimination.

While it is accurate that Herrmann emailed Herbert and Ard before Plaintiff’s interview with Calvo

and Grossman, see JSUF at ¶ 52, Herrmann’s email did not recommend Plaintiff be discharged.

Rather, Herrmann sought to advise Messrs. Herbert and Ard of Plaintiff’s expected termination

based on complaints made to EHI, including reports of Plaintiff’s threatening behavior in the

Flatiron Club locker room. Id. at ¶¶ 50-51. Herrmann did not make a recommendation to terminate

Plaintiff’s employment until after his interview with Calvo and Grossman where Plaintiff admitted

to making a threaten of violence. See DSOF at ¶¶ 23, 25-26. Significantly, it is undisputed that

at all relevant times Herrmann did not even know Plaintiff’s age. See DSOF at ¶ 27; Exhibit M.




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As Herrmann did not know Plaintiff’s age at any relevant time, Plaintiff cannot establish that

Herrmann’s conduct could possibly be pretext for age discrimination.

                    iv.        The Fact that Employees Younger than Plaintiff Were Asked to
                               Cover His Classes Does Not Establish Pretext.

               Plaintiff’s final argument that he was replaced by younger employees is similarly

unavailing. “Plaintiff cannot defeat summary judgment merely by showing that [s]he was replaced

by a younger employee. Typically, younger workers will replace older ones; this is an

unremarkable phenomenon that does not prove discrimination.” Hess v. Mid Hudson Valley

StaffCo LLC, No. 16-CV-1166 (KMK), 2018 U.S. Dist. LEXIS 148597, at *52-53 (S.D.N.Y. Aug.

29, 2018). It is undisputed that after Plaintiff’s termination and before COVID-19 required EHI

to suspend group fitness classes, the nine GFIs who may have covered classes previously taught

by Plaintiff were all over the age of forty, and three of the nine were over the age of fifty. See

DSOF at ¶¶ 28-31. Significantly, at the time Defendant filed its initial brief in support of this

motion, all nine of these GFIs are still employed by EHI, including the oldest GFI who is only

three years younger than Plaintiff. Id. at 32. In these circumstances, where the replacement

instructors are nearly the same age as Plaintiff, all within the same ADEA protected category and

all are still employed by EHI, no reasonable juror could find that Defendant’s decision to terminate

Plaintiff because of a violation of the workplace violence policy was pretext for age discrimination.

See, e.g., Testa v. CareFusion, 305 F. Supp. 3d 423, 436 (E.D.N.Y. 2018) (collecting cases that

replacement by younger workers alone is insufficient to show pretext).

                                         CONCLUSION

               For all the reasons set forth in Defendant’s moving papers and for the foregoing

reasons, Plaintiff’s claims are without merit and the complaint must be dismissed with prejudice.




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Dated: New York, New York
       October 15, 2021

                                      Respectfully submitted,

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